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Based upon information contained in I.C. File LH-0341 and upon an investigation made by the Investigations Section of the Industrial Commission, the Full Commission makes the following:
                            FINDINGS OF FACT
1. Decedent, Edward Kent Griffin, was a rescue squad worker with First Health of the Carolinas, Inc., at the time of his death on 2 February 2004.
2. Decedent's death occurred in the course and scope of his employment when he suffered a fatal heart attack (acute myocardial ischemia) while performing routine duties at the EMS base following his return from an emergency call earlier that day.
3. At the time of his death, decedent was not married and had no dependent children or dependent parents.
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Based upon the foregoing findings of fact, the Full Commission concludes as follows:
                           CONCLUSIONS OF LAW
1. Decedent was an eligible rescue squad worker with First Health of the Carolinas, Inc., as defined in N.C. Gen. Stat. §143-166.2(d), at the time of his death on 2 February 2004.
2. Decedent's death was the direct result of injuries incurred while performing his official duties, as defined by N.C. Gen. Stat. § 143-166.2.
3. Decedent is not survived by a spouse, dependent children or dependent parents; therefore the award of death benefits is properly paid to decedent's estate pursuant to N.C. Gen. Stat. §143-166.3.
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Based upon the foregoing findings of fact and conclusions of law, the Full Commission enters the following:
                                  AWARD
1. The sum of $50,000.00 is hereby awarded to the estate of Edward Kent Griffin. This sum shall be paid from funds appropriated by the State Treasurer for the purpose set forth in N.C. Gen. Stat. § 143-166.1 et seq.
A copy of this Award shall be furnished the Office of the State Treasurer for the purpose of having compliance with this Award, and the Commission shall be advised of the date or dates of payments made.
No costs are assessed before the Commission.
This the ___ day of July, 2004.
                                  S/___________________ BERNADINE S. BALLANCE COMMISSIONER
CONCURRING:
  S/_____________ THOMAS J. BOLCH COMMISSIONER
  S/_______________ CHRISTOPHER SCOTT COMMISSIONER